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                        UNITED STATES DISTRICT COURT
                                   FOR THE
                             DISTRICT OF VERMONT

JOHN DOE,                          )
                                   )
     Plaintiff,                    )
                                   )
     v.                            )       Case No. 2:22-cv-144
                                   )
THE UNIVERSITY OF VERMONT          )
AND STATE AGRICULTURAL             )
COLLEGE; THE BOARD OF              )
TRUSTEES OF THE UNIVERSITY         )
OF VERMONT AND STATE               )
AGRICULTURAL COLLEGE;              )
KATHARINE SPENCE,                  )
Individually and as agent          )
for The University of Vermont      )
and State Agricultural             )
College; ANNA EPSHTEYN,            )
Individually and as agent          )
For The University of Vermont      )
and State Agricultural             )
College; and THOMAS MERCURIO,      )
Individually and as agent for      )
the University of Vermont and      )
State Agricultural College,        )
                                   )
     Defendants.                   )

                                   ORDER

     Plaintiff filed this case using the pseudonym John Doe, and

moved the Court for leave to proceed without revealing his real

name.     ECF Nos. 1, 2.    In an Opinion and Order dated December

19, 2022, the Court denied his motion and ordered Plaintiff to

re-file his Complaint, using his actual name, within thirty

days.     ECF No. 15.    The Court warned that failure to do so would

result in dismissal of the Complaint without prejudice.            Id.
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     The thirty-day deadline has now passed, and Plaintiff has

not filed an amended pleading.     Accordingly, the Complaint is

dismissed without prejudice.     The pending motion to dismiss (ECF

No. 9) is denied as moot.    This case is closed.

     DATED at Burlington, in the District of Vermont, this 25th

day of January, 2023.

                                 /s/ William K. Sessions III
                                 William K. Sessions III
                                 U.S. District Court Judge




                                   2
